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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  JUAN MARTINEZ, JOSE PIMENTAL, CARLOS
  CONTRERAS, EFRAIN REYES, and
  JOWANY CASTILLO
                                                                    Affidavit of Feliks
                                                                    Swierzewski in Support of
                                                                    Motion to Vacate Default
                                      Plaintiff,
                  -against-
                                                                     Case No. 0:21-cv-03613
                                                                     (GRB) (JMW)
  FELIKS & SON STORAGE TANK CORP.,
  FELIKS & SON SERVICES, LLC, and FELIKS
  SWIERZEWSKI

                                      Defendants.


           I, FELIKS SWIERZEWSKI, being duly sworn, deposes and says:

           1.    I am a defendant in the above captioned action, and as such, I am familiar with the

  facts and circumstances relating to plaintiffs’ claims.

           2.    I respectfully submit this affidavit in support of the Motion to Vacate the Default

  Judgment entered by the Clerk of the Court on January 14, 2022.

           3.    I am the owner of Feliks & Son Storage Tank Corp. and Feliks & Son Services,

  LLC.

           4.    Feliks & Son Storage Tank Corp. is a domestic corporation organized under the

  laws of New York.

           5.    Feliks & Son Services, LLC is a limited liability company organized under the

  laws of New York.

           6.    For the years 2021 and 2022, the principal place of business of Feliks & Son

  Storage Tank Corp. and Feliks & Son Services, LLC was 142 Fairview Blvd, Hempstead, NY

  11550.
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         7.      Feliks & Son Storage Tank Corp. is engaged in the business of gasoline tank

  system installation.

         8.      At all times relevant herein, all employees were employed by Feliks & Son

  Storage Tank Corp., not Feliks & Son Services, LLC.

         9.      Feliks & Son Services, LLC has no employees and generates less than $500,000

  in revenue annually.

         10.     On June 25, 2021, plaintiffs filed a lawsuit against Feliks & Son Storage Tank

  Corp., Feliks & Son Services, LLC, and me individually, alleging claims of violations of the Fair

  Labor Standards Act (“FLSA”) and the New York Labor Law (“NYLL”).

         11.     The Summons and Complaint in this matter were not served on me, and I did not

  learn until several months later that the Summons and Complaint were erroneously sent to my

  prior home address of 191 Tulip Ave, Floral Park, New York, 11001.

         12.     191 Tulip Ave, Floral Park, New York, 11001 has not been the principal place of

  business for Feliks & Son Storage Tank Corp. and Feliks & Son Services, LLC since 2018. I

  (mistakenly) believed that our outside accountant changed the address with the New York

  Secretary of State at the same time it changed the address for all tax filings.

         13.     Because the principal place of business has been at 142 Fairview Blvd since 2018,

  I no longer receive mail forwarding from the 191 Tulip Ave address. As such, I was unaware of

  the Summons and Complaint until a secretary from the Episcopal Church nearby alerted me to

  the fact that I had a stack of mail that had been sent to the old address.

         14.     Several of the plaintiffs, including Juan Martinez, knew of my new address

  because they visited my new home at 142 Fairview Blvd, Hempstead, NY 11550.
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         15.     Delay in answering or filing any response to the Summons and Complaint was

  inadvertent and in no way willful.

         16.     Upon learning about the instant lawsuit and after receiving the Summons and

  Complaint, I took prompt action and immediately notified and engaged with counsel.

         17.     Additionally, as the owner of Feliks & Son Storage Tank Corp., I am in

  possession of true and accurate copies of payroll records from the company. These records

  highlight the days and hours that plaintiffs worked and contradict plaintiffs’ allegations.

         18.     For example, the excerpts of the attached 2016 records specifically display the

  days and hours that plaintiff Efrain Reyes worked.

         19.     These records are a true and accurate reflection of the hours worked and directly

  conflict with the hours plaintiffs claim damages for in their Complaint and Memorandum of Law

  in Support of the Motion for Default.

         20.     Additionally, if there were times when my employees needed a day off for any

  reason, they would send me a text message and I would approve it without issue. As a result,

  plaintiffs received much more than the alleged one week off per year.

         21.     Finally, we did not work past 4:30 p.m. with typical hours consisting of 8 am to

  4:30 pm with 30-minutes break for lunch. The submitted paperwork shows that they were paid

  based on an 8-hour day. Their daily pay rate was divided by 8 hours to get an hourly rate, and if

  plaintiffs worked a partial day, this hourly rate was then multiplied by the number of hours

  worked.
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